    Case: 1:19-cv-02058 Document #: 32 Filed: 05/27/19 Page 1 of 3 PageID #:391



                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

MERCIS B.V.,

        Plaintiff,                                         Case No.: 1:19-cv-2058

   v.                                                      Judge Robert W. Gettleman

THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Sheila M. Finnegan
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                   DEFENDANT
                     65                                  meiyi-2018
                 136                                  Sweet lover Store
                     95                                  cuinaixin66
                     53                                  haoweilijie
                     24                  Guangzhou Yexiang Technology Co., Ltd.
                 490                             LBSISI Life Package Store
                     42                                call*me*beauty
                 598                                partisig Official Store
                     19                                    sc2668
                     59                                  liyifansmill
                 575                                 Nevsky1982 Store
                 726                               Sunjiang memroy Store
                 459                                     Jong Store
                 640                                    Sheldon Store
   Case: 1:19-cv-02058 Document #: 32 Filed: 05/27/19 Page 2 of 3 PageID #:392



DATED: May 27, 2019                        Respectfully submitted,

                                           /s/ Keith A. Vogt
                                           Keith A. Vogt (Bar No. 6207971)
                                           Keith Vogt, Ltd.
                                           1033 South Blvd., Suite 200
                                           Oak Park, Illinois 60302
                                           Telephone: 708-203-4787
                                           E-mail: keith@vogtip.com

                                           ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-02058 Document #: 32 Filed: 05/27/19 Page 3 of 3 PageID #:393



                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on May 27, 2019 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
